829 F.2d 36Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Merton McQUEEN, Plaintiff-Appellant,v.Glenn CASTOR, Sgt., Defendant-Appellee.
    No. 87-7118
    United States Court of Appeals, Fourth Circuit.
    Submitted May 20, 1987.Decided September 4, 1987.
    
      Merton McQueen, appellant pro se.
      Sylvia Hargett Thibaut, Assistant Attorney General, for appellee.
      Before WIDENER, CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Merton McQueen, a North Carolina inmate, seeks to appeal from the magistrate's recommendation that summary judgment be granted for the defendant and that his 42 U.S.C. Sec.  1983 action be dismissed.  As 'there is no clear and unambiguous statement in the record indicating that the parties consented to the exercise of plenary jurisdiction by the magistrate,' Ambrose v. Welch, 729 F.2d 1084, 1085 (6th Cir. 1984), we lack jurisdiction to consider the appeal.  McQueen must obtain review of the magistrate's recommendation in the district court before he can appeal to this Court.  Id.
    
    
      2
      The appeal is dismissed.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      3
      DISMISSED.
    
    